 

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

x
ANAND DASRATH, Case No.: CV 07 2433
(C. Amon)
(R. Reyes)
Plaintiff,
- against - AFFIDAVIT OF
JENNIFER McLAUGHLIN
ROSS UNIVERSITY SCHOOL OF MEDICINE, - IN SUPPORT OF
DEFENDANT’S MOTION
FOR SUMMARY JUDGMENT
Defendant.
x
STATE OF NEW YORK)
SS)
COUNTY OF NASSAU )

JENNIFER A. McLAUGHLIN, being duly sworn, deposes and says:
1. I am a member of the firm of Cullen and Dykman LLP, attorneys for defendant
Ross University School of Medicine (“Ross University’).
2. I submit this affidavit in support of defendant’s motion for summary judgment
pursuant to Rule 56 for the limited purpose of attaching the following documents:
Exhibit L: Deposition of Plaintiff Anand Dasrath dated September 30, 2010

Exhibit M: Deposition of Dr. Nancy Perri, Vice President of Academic
Affairs of Ross University dated October 15, 2010

Exhibit N: Order to Show Cause dated July 25, 2006: Anand Dasrath v.
Ross University, Supreme Court, Queens County, Index No:
15989/2006 (“Queens County Action’)

Exhibit O: Order dated January 31, 2007 dismissing Queens County Action
with Notice of Entry

 
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1:07-cv-02433-CBA-RER Document 94-3 Filed 04/28/11 Page 2 of 2 PagelD #: 714

Exhibit P: Certificate of Authenticity of Business Records by William C.
Kelly, Associate Vice President for Operations of Educational
Commission for Foreign Graduates dated November 10, 2010
and documents ECFMG AED 00198-00199.

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[Jofnifer A. McLaughlin (IM-5678)

 

Sworn to before me this

Suter of March, dy

Notary Pyblic

MAUREEN SAUTER
Notary Public, State of New Yor
#01SA3898285
Qualitied in Nassau County |
Commission Expires June 24, LOV

 

 

 
